     Case 2:10-cr-00097-FVS    ECF No. 84   filed 10/12/10   PageID.184 Page 1 of 1


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4

5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
6

7
     UNITED STATES OF AMERICA,                 )
8                                              ) NO. CR-10-097-FVS-3
                         Plaintiff,            )
9                                              )
        v.                                     ) ORDER GRANTING
10
                                               ) UNOPPOSED MOTION
11   CURTIS REESE STOREY,                      )
                                               )
12                       Defendant.            )
13

14      Before the court is Defendant’s unopposed Motion to Conditions of
15   Pretrial Release.
16
        IT IS ORDERED the unopposed Motion to Modify Conditions of
17
     Pretrial Release (Ct. Rec. 81) is GRANTED. The Defendant is allowed to
18

19
     travel among the 11 western States for work.

20      DATED October 12, 2010.
21
                             S/ CYNTHIA IMBROGNO
22                       UNITED STATES MAGISTRATE JUDGE
23

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     ORDER • Page 1
